USCA4 Appeal: 22-2016       Doc: 18        Filed: 12/08/2022   Pg: 1 of 1




                                                                   FILED: December 8, 2022


                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                         ___________________

                                              No. 22-2016
                                       (1:21-cv-00838-LCB-LPA)
                                         ___________________

        GUILFORD COLLEGE

                        Plaintiff - Appellant

        v.

        TRAVELERS INDEMNITY COMPANY OF AMERICA

                        Defendant - Appellee

                                      _________________________

                                        RULE 42(b) MANDATE
                                      _________________________

              This court's order dismissing this appeal pursuant to Local Rule 42(b) takes

        effect today.

              This constitutes the formal mandate of this court issued pursuant to Rule

        41(a) of the Federal Rules of Appellate Procedure.


                                                                  /s/Patricia S. Connor, Clerk




              Case 1:21-cv-00838-LCB-LPA Document 25 Filed 12/08/22 Page 1 of 1
